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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

                                            CASE NO.

ADAM HILL,
Individually and on behalf of all
others similarly situated,

         Plaintiff,

v.

ADORE ME, INC.,

      Defendant.
________________________________________/

                 DEFENDANT ADORE ME, INC.’S NOTICE OF REMOVAL

         Defendant, ADORE ME, INC. (hereinafter “Defendant”) by and through the undersigned

counsel hereby gives notice that the action Adam Hill, Individually and on behalf of all others

similarly situated v. Adore Me, Inc., Case No.: 2021-31097-CICI, in the Circuit Court of the

Seventh Judicial Circuit in and for Volusia County, Florida, is removed to the United States

District Court in and for the Middle District of Florida, Orlando Division.

                                     I.     BACKGROUND

         1.      On August 19, 2021, Plaintiff Adam Hill (hereinafter “Plaintiff”) filed a civil

complaint (the “Complaint”) against Defendant in the Circuit Court of the Seventh Judicial Circuit

in and for Volusia County, Florida Adam Hill, Individually and on behalf of all others similarly

situated v. Adore Me, Inc., Case No.: 2021-31097-CICI.

         2.      In accordance with 28 U.S.C. §§ 1446(a), all of the process and pleadings served

upon Defendant in this action to date are attached to this notice as Exhibit A.

         3.      Defendant was served with the Complaint on October 18, 2021.




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          4.    This Notice of Removal is being filed within thirty (30) days of service of the

Complaint upon the Defendant, and this case is timely removed pursuant to 28 U.S.C. § 1446 (b),

(c)(1).

          5.    Plaintiff asserts various claims against Defendant related to the Telephone

Consumer Protection Act of 1991, 47 U.S.C. §§ 227, et. seq. (the “TCPA”) and “the TCPA’s

implementing regulation, 47 C.F.R. § 64.1200(c)”. See Compl. ¶¶ 32, 33.

          6.    Federal question jurisdiction exists under 15 U.S.C. § 1331 because the Complaint

alleges express violations of the TCPA, 47 U.S.C. §§ 227, a federal law. See Compl. ¶¶ 1, 3.

          7.    Defendant denies the allegations in the Complaint, denies that Plaintiff has stated

any claim upon which relief may be granted, and denies that Plaintiff has been damaged in any

manner. Nevertheless, assuming for jurisdictional purposes only that Plaintiff’s claims are valid,

this matter is removable to this Court based upon federal question jurisdiction.

                               II.     FEDERAL JURISDICTION

          8.    Plaintiff’s claims arise out of solicitation text messages allegedly sent in violation

of the National Do Not Call Registry and the TCPA’s Do Not Call regulations. See Compl. ¶ 3.

          9.    Pursuant to 28 U.S.C. § 1331, removal is proper irrespective of the citizenship or

residences of the parties.

          10.   This Court has original jurisdiction over Plaintiff’s TCPA claim pursuant to 28

U.S.C. § 1331, which states that federal question jurisdiction is appropriately exercised over “all

civil actions arising under the Constitution, laws, or treaties of the United States.

          11.   Removal of this action is proper under 28 U.S.C. § 1441(a), which provides, in

relevant part, that “any civil action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed by the defendant or the defendants, to the district



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court of the United States for the district and division embracing the place where such action is

pending.”

         12.    Federal question jurisdiction exists over this action because the allegations asserted

by Plaintiff in the Complaint involve questions that will require resolution of significant, disputed

issues under federal law. This case qualifies for federal question jurisdiction and is removable

because Plaintiff’s Complaint alleges claims under, and requires a ruling on the TCPA, 47 U.S.C.

§§ 227, a federal law. See, e.g., Speidel v. Am. Honda Fin. Corp., No. 2:14-cv-19-FTM-38CM,

2014 U.S. Dist. Lexis 26778 (M.D. Fla., March 3, 2014) (confirming federal question jurisdiction

and denying plaintiff’s motion to remand); Benzion v. Vivint, Inc., No. 12-61826-CIV, 2014 U.S.

Dist. Lexis 187275, at *7 (S.D. Fla. Jan. 17, 2014) (quoting Mims v. Arrow Fin. Servs., LLC, 565

U.S. 368 (2012) (holding that federal courts have federal question jurisdiction over TCPA claims,

despite TCPA language referencing claims brought in state court)).

                                          III.    VENUE

         13.    Venue is appropriate in this Court because the Middle District of Florida

encompasses the Seventh Judicial Circuit in and for Volusia County, Florida, the forum from

which the case has been removed. 28 U.S.C. § 1441.

                                          IV.    NOTICE

         14.    As required by 28 U.S.C. § 1446(d), Defendant filed a true and correct copy of this

Notice of Removal with the Clerk of the Circuit Court of the Seventh Judicial Circuit in and for

Volusia County, Florida. A copy of the Notice of Filing the Notice of Removal is attached hereto

as Exhibit B.

         15.    This Notice of Removal is being served upon all adverse parties as required by 28

U.S.C. § 1446(d).



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         16.   As of the date of this removal, Defendant has not filed a responsive pleading to the

Complaint. Defendant reserves all rights to assert any and all defenses to the Complaint and further

reserves the right to amend or supplement this Notice of Removal.

         WHEREFORE, Defendant ADORE ME, INC. hereby removes this action to this Court

and seeks all other relief as this Court deems equitable and just.

Dated: November 17, 2021
                                                      Respectfully Submitted,

                                                      /s/ Maura Krause_____________
                                                      Maura Krause, Esquire
                                                      Florida Bar No. 19082
                                                      Catherine Higgins, Esquire
                                                      Florida Bar No. 112019
                                                      GOLDBERG SEGALLA, LLP
                                                      222 Lakeview Avenue, Suite 800
                                                      West Palm Beach, FL 33401
                                                      (561) 618-4462 Office
                                                      (561) 618-4549 Fax
                                                      Email designations:
                                                      mkrause@goldbergsegalla.com
                                                      chiggins@goldbergsegalla.com
                                                      pborges@goldbergsegalla.com

                                                      Counsel for Defendant Adore Me, Inc.




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                                 CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served by the Court’s
ECF system and by the electronic mail to the following individuals:

Ignacio Hiraldo, Esq.
IJH Law
1200 Brickell Ave., Suite 1950
Miami, Florida 33131
Phone: (786) 496-4469
IJhiraldo@IJHlaw.com
Attorney for Plaintiff

On this 17th day of November 2021.


                                                     /s/ Maura Krause_____________
                                                     Maura Krause, Esquire




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